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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

 UNITED STATES OF AMERICA,                      )
                                                )
        Plaintiff,                              )   Criminal No. 6:13-CR-0049-GFVT-HAI-10
                                                )
 V.                                             )
                                                )
 JAMES THOMAS WOODS,                            )                    ORDER
                                                )
                                                )
        Defendant.

                                      *** *** *** ***

       This matter is before the Court on the Recommended Disposition (“R&R”) [R. 349] filed

in the Record by United States Magistrate Judge Hanly A. Ingram on November 16, 2016. The

Magistrate’s Recommended Disposition was requested following the revocation of James

Thomas Woods’ supervised release and the issuance of a warrant by this Court. [R. 344.]

Initially, on November 25, 2014, Mr. Woods was sentenced to 37 months of imprisonment

followed by five years of supervised release. [R. 349 at 1.] Defendant Woods began his

supervised release term on June 28, 2016. [Id.] Mr. Woods’ supervised release was revoked

following a urine sample that tested positive for methamphetamine use. When asked about the

result, the Defendant admitted to using methamphetamine on October 19, 2016, as well as

chewing on a fentanyl patch. [Id.] Since Mr. Woods violated four separate terms of his

supervised release conditions and admitted these violations, the Magistrate Judge recommends

revocation with a term of imprisonment of six months to be followed by a 60 month term of

supervised release under the conditions previously imposed at Docket Entry 306. [Id. at 7.]
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       On November 15, 2016, Judge Ingram conducted a final hearing on revocation of

Woods’ supervised release. [Id. at 3.] At the revocation hearing, Woods admitted the factual

basis for the violations described by the USPO in the Supervised Release Violation Report by

“competently enter[ing] a knowing, voluntary, and intelligent stipulation to violations #1, #2, #3

and #4.” [Id.] The United States argued for revocation and eight months of imprisonment to be

followed by five years of supervised release. Defense counsel noted that Mr. Woods’ actions

were mitigating as he quickly admitted drug use to the probation officer, after being questioned

about the results, and Mr. Woods was willing to stipulate to the violations. [Id. at 5.] Further,

Defense counsel notified the court that Mr. Woods accepted responsibility for these violations

and even admitted fentanyl use which had not been detected by the drug test. [Id.]

Unfortunately, Mr. Woods committed this violation only after four months of supervised release

and “his violations were reminiscent of his underlying offense, which involved procuring meth

ingredients in exchange for meth to feed his addiction.” [Id.]

       Upon evaluation of the entire record, the Report, the § 3553 factors imported into the

section 3583(e) analysis, the Guidelines range, accompanying documents, and the sentencing

materials, Magistrate Judge Ingram issued an R&R recommending revocation with a term of

imprisonment of six (6) months and a term of supervised release of sixty (60) months under the

conditions previously imposed at Docket Entry 306. [Id. at 7.] In making this “within-

Guidelines” recommendation, Judge Ingram reiterates that Congress mandates revocation in a

case of this nature. [R. 349 at 6-7 (referencing 18 U.S.C. § 3583(g)(1)).] In evaluating the

nature and circumstances of Defendants’ conviction, the Magistrate Judge found that Defendant

Woods had engaged in substantial drug manufacturing crimes that “supplied pseudoephedrine

with a marijuana equivalence of 400 to 700 kilograms.” [Id. at 6.] Crimes of this nature are not
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only harmful to the Defendant, but also to members of the community at large.

       This Court and the Magistrate must consider the Defendant’s history and characteristics,

and the need to deter criminal conduct and protect the public when imposing a sentence. While

Mr. Woods was quick to accept responsibility for violating the terms of his supervised release,

he did engage in drug use that was reminiscent of his underlying offense. Further, the “primary

wrong in the supervised release context is the violation of the Court’s trust by an offender.” The

Magistrate Judge noted that Mr. Woods’ shall be subject to the same release conditions as those

imposed in Docket Entry 306 which do provide for drug treatment programs and resources at the

discretion of the USPO. The R&R concludes by directing the parties to the relevant statute that

requires any objections to be filed within fourteen (14) days of service. [Id. at 8.] As of this

date, neither party has filed objections nor sought an extension of time to do so. Further, Mr.

Woods has submitted a Waiver of Allocution that was signed by himself and defense counsel.

[R. 350.]

       Generally, this Court must make a de novo determination of those portions of a

recommended disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, however, this Court is not required to “review . . . a magistrate’s factual or

legal conclusions, under a de novo or any other standard . . . .” Thomas v. Arn, 474 U.S. 140,

150 (1985). Parties who fail to object to a Magistrate’s recommended disposition are also barred

from appealing a district court’s order adopting that report and recommendation. United States

v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this Court has examined the record, and it

agrees with the Magistrate Judge’s Recommended Disposition.




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       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Magistrate’s Recommended Disposition [R. 349] as to James Thomas Woods

is ADOPTED as and for the Opinion of the Court; and

       2.      The Defendant, James Thomas Woods, is found to have violated the terms of his

Supervised Release as set forth in the Petition filed by the United States Probation Office and the

Recommended Disposition of the Magistrate Judge; and

       3.      Mr. Woods’ Supervised Release is REVOKED; and

       4.      Mr. Woods is hereby sentenced to a term of incarceration for six (6) months with

a term of supervised release of sixty (60) months to follow; and

       5.      The term of supervised release shall be imposed under the same conditions

previously imposed at Docket Entry 306.



       This 27th day of December, 2016.




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